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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    :
JW DOE                              :                  CIVIL ACTION
                                    :
            Plaintiff,              :                  NO. 20-cv-1321
                                    :
      v.                            :                  SECTION “T”(5)
                                    :                  GGG-MBN
ARCHDIOCESE OF NEW ORLEANS :
INDEMNITY, INC., et al              :
                                    :
            Defendants.             :
____________________________________:

               PLAINTIFF’S MEMORANDUM IN SUPPORT OF
       MOTION TO UNSEAL THE DEPOSITON OF LAWRENCE HECKER and
           RE-DESIGNATE DOCUMENTS AS “NON-CONFIDENTIAL”

       NOW INTO COURT comes plaintiff J.W. Doe, through undersigned counsel, who

respectfully requests that this Court unseal the deposition transcript of defendant Lawrence Hecker

along with the documents attached to the deposition transcript. (The two-volume deposition

transcript is attached as Exhibit 1, the exhibits to the deposition are attached as Exhibit 2 en globo,

the video of the deposition is attached as Exhibit 3, and a motion filed under seal in state court is

attached as Exhibit 4. The deposition and all these exhibits are attached and filed under seal).

       The road to get this issue before a court for review has been a long and tortured one, as was

the process of both scheduling and taking the deposition of Hecker. It took four judges – a state

district court judge, a Federal bankruptcy judge, a Federal District Court Judge, and a Federal

Magistrate Judge, to free up these documents and take Hecker’s deposition. Deposing Hecker was

like pulling impacted wisdom teeth with a pliers covered in Vaseline. Unfortunately, in order to

fully appreciate how difficult this deposition was to take, the Court might need to view at least part

of the video. The major complications in taking this deposition were: 1) Hecker’s refusal to


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directly answer the questions of plaintiff’s counsel, 2) Hecker’s sporadic invocation of his Fifth

Amendment rights, which sometimes included both answering the question asked and taking the

Fifth, 3) Hecker’s attorney’s constant attempts to restrain and redirect Hecker and the arguments

that ensued between them, 4) constant unwarranted, obstructive objections to form, speaking

objections, and interruptions by counsel for the Archdiocese, and 5) technological issues with

taking this deposition via Zoom, as opposed to taking it in the Federal Courthouse as originally

proposed.1

                                         INTRODUCTION

        This is one of the most consequential pleadings all three undersigned counsel ever have

filed, and it is expected that it might be for the Court as well. This case relates to matters of utmost

public concern, the sexual abuse of JW Doe and many other children by a living, diseased

pedophile (Father Lawrence Hecker), and the cover-up of that abuse by the Archdiocese of New

Orleans (“The Archdiocese”).2 Importantly, no court has had the opportunity to review and rule

on the documents that comprise Exhibit 2, and as this Court will see, the attorneys for The

Archdiocese were exceedingly liberal in their use of the “confidential” designation, which resulted

in the further concealment of evidence of multiple felonies. This dam should break, and it should

break now.      The only things that should be protected/redacted by this Court are the names of

Hecker’s victims and/or their relatives.


1
 At the very end of the deposition, counsel for Catholic Mutual asked a very short series of questions. After
two days of an incredible mess while being questioned by plaintiff’s counsel, Hecker had a miraculous
recovery of memory and ability to concisely answer questions. (Ex. 1, Vol. II pp. 186-190).
2
 The Archdiocese of New Orleans is a debtor in the United States Bankruptcy Court, and Bankruptcy Court
Judge Meredith Grabill has ruled that the Archdiocese’s participation in this case cannot result in a waiver
of the automatic stay in the bankruptcy. This did not constrain counsel from eliciting testimony or evidence
of the Archdiocese’s own misconduct incidental to proving plaintiff’s case against Hecker. In the long run,
the Archdiocese’s bankruptcy protection is not affected by this deposition.


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       In the underlying state court proceeding, the wholesale designation of thousands of pages

of documentation by the Archdiocese as “confidential” concerning this matter of extraordinary

public interest was unwarranted, and this extended concealment of felonies against children should

not be perpetuated and/or condoned by this Court. Hecker is still very much alive, vibrant, lives

alone, and is a danger to young boys until he draws his final breath.

       Hecker and The Archdiocese cannot prove that there is “good cause” for shielding the

deposition and documents from the public as required by The Federal Rules of Civil Procedure,

United States Supreme Court, and the United States Fifth Circuit Court of Appeals. No showing

can be made that disclosure of the deposition and documents will injure any individual’s privacy

interests, because quite simply, this deposition and the documents attached to it establish grotesque

felonies committed by Hecker that systematically were covered up by The Archdiocese for several

decades. Evidence of undisclosed felonies never can be designated as “confidential.”

       Moreover, The Archdiocese cannot establish that any privacy interests in the

deposition/documents outweigh the significant public concern raised by the deposition/documents.

Indeed, any private interests here are minimal compared to the public’s concern about

Father/Monsignor Lawrence Hecker’s numerous and documented sexual assaults of children and

the role The Archdiocese played in covering up Hecker’s crimes, thereby potentially perpetrating

its own crimes.

       The public’s legitimate interest in Hecker’s sexual abuse of boys and the handling by The

Archdiocese of sexual abuse claims is of great public concern. The Archdiocese collects millions

of dollars from local residents to support its activities and regularly attempts to influence public

opinion with press conferences, media interviews, and photo-ops. Gregory Aymond and Alfred

Hughes are hardly private individuals who have been dragged into the spotlight. As such, a high-



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profile institution such as The Archdiocese surely involves only minimal privacy interests; also

several individuals identified in these documents are dead. The public has a substantial interest in

a known pedophile walking the streets and how sexual molestation claims are addressed by The

Archdiocese.

        As stated when a motion similar to this one (but before Hecker had been deposed) was filed

in the underlying state court case, a direct-line analogy can be drawn from this case to the Father

John Geoghan cases in the Archdiocese of Boston and Cardinal Bernard Law, which resulted in

the Boston Globe’s bombshell expose’ in 2002 entitled “Church Allowed Abuse by Priest for

Years” published by its Spotlight team and later resulting in the movie Spotlight and the book

Betrayal.

        Like Lawrence Hecker, John Geoghan was a dangerous pedophile-priest who sexually

abused scores of boys over decades but then was moved from parish to parish like a toxic chess

piece every time complaints of sexual assault arose against him. And like Hecker, when the fire

got too hot, the Archdiocese of Boston (like the Archdiocese of New Orleans here) sent Geoghan

away for “treatment.”

        There is also an undeniable connection between these two cases - - Archbishop Emeritus

Alfred Hughes. Indeed, the documents at issue will reveal in no uncertain terms that the last four

Archbishops of New Orleans (Hannan, Schulte, Hughes, and Aymond) knew that Lawrence

Hecker was a serial child predator, yet they moved him, coddled him, and absolutely failed to

properly report his crimes to the appropriate authorities. The Archdiocese continued to take care

of Hecker and other pedophiles financially and otherwise until Judge Grabill ordered a stop to it,

if only for the financial aspect.




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       A discussion of the applicable Massachusetts cases will be included below. Indeed, when

this exact battle was fought in Boston approximately 18 years ago, the Massachusetts courts ruled

in favor of the disclosure of exactly the same type of documents The Archdiocese of New Orleans

currently seeks to hide from the media, the public, and law enforcement.3

       Unsealing the deposition and documents is a relatively simple legal proposition - - evidence

of criminality and openness of the court system unequivocally require transparency and public

disclosure. However, undersigned counsel are fully aware that this motion will prompt from the

Archdiocese (but maybe not Hecker) a vociferous, fire-breathing opposition memorandum (heavy

with mind-numbing footnotes) that will attempt to steer this Court away from this simple issue.

The opposition memorandum certainly will attack undersigned counsel in the process. Revealing

these painful and disturbing truths has not been an easy process for the abuse-survivors or their

lawyers, but this motion is where the proverbial rubber meets the road. And it will not be lost on

this Court that Lawrence Hecker’s story is only one story of the several dozen pedophiles to operate

under the auspices of The Archdiocese of New Orleans.

       Hecker and the Archdiocese cannot satisfy their heavy burden that evidence of criminal

conduct is somehow “good cause” for shielding the deposition and documents from the public.

No showing can be made that disclosure of the deposition and documents will injure any

individual's privacy interests, because quite simply, this deposition and the documents attached to

it establish grotesque felonies committed by Hecker that systematically were covered up by the

Archdiocese for several decades. Evidence of undisclosed felonies never can be designated as

“confidential.”



3
 Undersigned counsel are aware that this Court is neither bound nor instructed by this discussion of
Massachusetts state jurisprudence, but these references are critical for a historical perspective.


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        Exhibit 4 provides a good, if not quite complete, narrative of certain documents that this

Court will review. Like the instant motion, the sealed motion was as serious a motion as

undersigned counsel ever filed, and it was scheduled to be heard in state court when the

Archdiocese filed its bankruptcy.

                                                 LAW

        Although undersigned counsel agreed to seal this deposition transcript and most of the

documents attached to it until this Court could review them, there should be no permanent

protective order or seal relative to the deposition or these documents because The Archdiocese of

New Orleans is attempting to use this process to continue its efforts to conceal extensive

criminality including but not limited to: child rape, child sexual abuse, human trafficking,

obstruction of justice, and misprision of felonies.4


        I.      There Can Be No Protective Order Under FRCP, Rule 26(c).

        “Protective orders are subject to scrutiny as violative of the First Amendment. Protective

orders infringing upon First Amendment rights must serve an important and legitimate

governmental interest and be no broader than necessary to protect that interest.” Id. at 568, citing

Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984).

        It cannot seriously be disputed that this deposition or documents at issue in this case

concerning “sexual abuse of minors by priests” are a legitimate subject of public interest. See, e.g.,

Father M v. Various Tort Claimants (In re Roman Catholic Archbishop), 661 F.3d 417 (9th Cir.

2011); Cinel v. Connick, 15 F.3d 1338 (5th Cir. 1994)(discussed infra). The court in Father M

stated it plainly: “The public does, however, have a weighty interest in public safety and in


4
 Counsel also appreciate that the portion of any oral argument or hearing wherein the content of the
deposition and documents is discussed would have to be sealed to the public pending the Court’s ruling on
unsealing them.

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knowing who might sexually abuse children.” 661 F.3d at 428, citing New York v. Ferber, 458

U.S. 747, 756-63 (1982).

        “To maintain a protective order, a party must be able to show ‘for each particular document

it seeks to protect’ . . . that specific prejudice or harm will result if no protective order is granted.”

Soule v. RSC Equipment Rental, 2012 U.S. Dist. Lexis 15904 at *6 (E.D. La. 2/9/12), quoting Foltz

v. State Farm, 331 F.3d 1122, 1130 (9th Cir. 2003). “Once a party has challenged the contention

that documents protected by a blanket protective order should be kept under seal, ‘the district court

must require [the party supporting confidentiality] to make an actual showing of good cause for

[the documents’] continuing protection under Federal Rule of Civil Procedure 26(c).” Blum v.

Merrill Lynch Pierce Fenner & Smith Inc., 712 F.3d 1349, 1355 (9th Cir. 2013), quoting Foltz.

        Any analysis of the issue could end here because the deposition and documents themselves

cannot be the subject of a protective order under Rule 26(c).

        II.     Fifth Circuit Precedent

        The United States Fifth Circuit Court of Appeals has weighed in on the issue of whether

documents relative to sexually deviant priests should be released to the public in Cinel v. Connick,

15 F.3d 1338 (5th Cir. 1994). In Cinel a variety of sexually oriented materials were obtained from

Father Dino Cinel’s room including a homemade video tape of Cinel engaged in homosexual

activity, primarily with two young men, Christopher Fontaine and Ronald Tichenor.

        In 1990, in connection with a state civil suit filed by the victim Fontaine, and at the request

of the Church, a subpoena duces tecum was issued directing the DA’s office to release the materials

found in Cinel’s room to the litigants in the Fontaine suit. The DA’s office released the materials

to the victim’s attorneys as custodians. Cinel alleged in his complaint, where he asserted Federal

civil rights violations, that the allegedly confidential materials were released “under the pretext of



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a subpoena and consent judgment.” The documents were later published by local and national

news media in stories highlighting the Cinel case, and Cinel claimed that the public disclosure was

in violation of his rights.

        The Fifth Circuit recognized that the trial judge, Martin Leach-Cross Feldman, held that

the materials were a matter of legitimate public concern. Judge Feldman explained that:

        [T]he materials related to Appellant’s guilt or innocence of criminal conduct. Also,
        the material implicated the public’s concern with the performance of its elected DA,
        especially because the DA’s decision cannot be reviewed by a court. See State v.
        Perez, 464 So.2d 737, 744 (La.1985) (explaining that the district attorney is given
        absolute discretion in the institution of criminal charges). Finally, the materials
        concerned Appellant’s activities while an ordained Catholic priest and the Church’s
        response to those activities.

        Even Cinel acknowledged the newsworthiness of the materials, but he claimed that they

added nothing to the underlying case and were an invasion of his privacy. The Fifth Circuit

disagreed, stating that, “The materials broadcast by the Appellees were substantially related to

Appellant’s story,” and therefore the public disclosure was not violative of the priest’s rights.

Further, and in approving the public disclosure of the materials, the Fifth Circuit explained,

        Perhaps the use of the materials reflected the media’s insensitivity, and no doubt
        Appellant was embarrassed, but we are not prepared to make editorial decisions for
        the media regarding information directly related to matters of public concern. See,
        e.g., Ross v. Midwest Communications, Inc., 870 F.2d 271, 275 (5th Cir.) (“judges,
        acting with the benefit of hindsight, must resist the temptation to edit journalists
        aggressively”), cert. denied, 493 U.S. 935, 110 S.Ct. 326, 107 L.Ed.2d 316 (1989);
        Neff v. Time, Inc., 406 F.Supp. 858, 860 (W.D.Pa.1976) (noting that “the courts are
        not concerned with establishing canons of good taste for the press or the public”)
        (internal quotations omitted); Cape Publications, Inc. v. Bridges, 423 So.2d 426,
        427–28 (Fla.Dist.Ct.App.1982) (concluding that when plaintiff’s nude picture was
        relevant to a story of public interest, there is no invasion of privacy, even though
        picture may be embarrassing or distressful to the plaintiff), cert. denied, 464 U.S.
        893, 104 S.Ct. 239, 78 L.Ed.2d 229 (1983).

        Hecker’s deposition and the documents in this case are no less probative of criminal

conduct than the actual video tapes of sexual activity in the Cinel case. In fact, Hecker’s criminal



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conduct and The Archdiocese’s concealment of that conduct dwarf what happened with Dino

Cinel. The documents are relevant to all of Hecker’s victims-survivors as well as to the

Archdiocese’s policy, practice, and procedure of covering up criminal conduct, abuse allegations

and enabling predators.


       III.    Federal Courts Favor Transparency.

       Numerous courts weighing similar competing interests have ruled in favor of openness.

For instance, in Humboldt Baykeeper v. Union Pacific, 244 F.R.D. 560 (N.D. Cal. 2007), the

defendants asked for protection against disclosure of discovery information about environmental

contamination at a property site. The plaintiffs admitted they might share the information with

groups who are concerned about environmental issues. The court refused to keep the documents

confidential because of the “important societal interests” involved. Id. at 567.

       Similarly, in Avirgan v. Hull, 118 F.R.D. 252, 256 (D. D.C. 1987), the court rejected a

request by a non-party to prohibit attendance by the press at his deposition because of the public

interest in the litigation involving the government’s activities against the Nicaraguan Contras.

       Likewise, in Condit v. Dunne, 225 F.R.D. 113, 119 (S.D. N.Y. 2004), the court allowed

public access to the deposition transcript of a writer sued by a former Congressman over articles

about rumors of his relationship to a murdered congressional intern because the issues in the

litigation were of public concern.

       IV.     Because the Documents Appear to Reveal Prosecutable Crimes, They Must Be
               Disclosed.

       A review of the deposition and documents implicates several crimes. Although the

Archdiocese consistently has argued that the crimes were committed many years ago (or are

“decades-old”), certain applicable Federal Laws might still allow for the prosecution of the actions

of Hecker, and the persons that had knowledge of his crimes, but suppressed them.

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       The deposition and almost all the documents that have been attached must be excluded

from any protection because they tend to prove actual crimes, or the furtherance of crimes and/or

are excluded from any protection or privilege whatsoever under a crime-fraud exception to the

attorney-client privilege. Plaintiff’s contention that there are crimes revealed in the documents is

not an overstatement. Certain of these crimes and the applicable limitation periods are cited below,

and most particularly 18 U.S.C. Sections §2421, §2422, and §2423, specifically set forth the

following:


       18 U.S.C. §2421

       (a) In General. —
       Whoever knowingly transports any individual in interstate or foreign commerce, or
       in any Territory or Possession of the United States, with intent that such individual
       engage in prostitution, or in any sexual activity for which any person can be charged
       with a criminal offense, or attempts to do so, shall be fined under this title or
       imprisoned not more than 10 years, or both.

       18 U.S.C. §2422

       (a) Whoever knowingly persuades, induces, entices, or coerces any individual to
       travel in interstate or foreign commerce, or in any Territory or Possession of the
       United States, to engage in prostitution, or in any sexual activity for which any
       person can be charged with a criminal offense, or attempts to do so, shall be fined
       under this title or imprisoned not more than 20 years, or both.

       18 U.S.C. §2423

       (a)Transportation With Intent To Engage in Criminal Sexual Activity.

       A person who knowingly transports an individual who has not attained the age of
       18 years in interstate or foreign commerce, or in any commonwealth, territory or
       possession of the United States, with intent that the individual engage in
       prostitution, or in any sexual activity for which any person can be charged with a
       criminal offense, shall be fined under this title and imprisoned not less than 10 years
       or for life.

       (b)Travel With Intent To Engage in Illicit Sexual Conduct.




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       A person who travels in interstate commerce or travels into the United States, or a
       United States citizen or an alien admitted for permanent residence in the United
       States who travels in foreign commerce, with a motivating purpose of engaging in
       any illicit sexual conduct with another person shall be fined under this title or
       imprisoned not more than 30 years, or both.

       Additionally, there are continuing violations under federal law for any individual who

possesses knowledge of a felony but conceals and/or fails to report the felony to the authorities.

       Under 18 U.S.C. §4,

       Misprision of felony

       Whoever, having knowledge of the actual commission of a felony cognizable by a
       court of the United States, conceals and does not as soon as possible make known
       the same to some judge or other person in civil or military authority under the
       United States, shall be fined under this title or imprisoned not more than three years,
       or both.

       Moreover, while the Archdiocese has asserted repeatedly that these cases arose many years

ago, the documents The Archdiocese attempts to hide from the public appear to involve the listed

crimes above for which there is no statute of limitations on the prosecution thereof.

       Under 18 U.S. Code §3299.

       Child abduction and sex offenses

       Notwithstanding any other law, an indictment may be found or an information
       instituted at any time without limitation for any offense under section 1201
       involving a minor victim, and for any felony under chapter 109A, 110 (except for
       section [1] 2257 and 2257A), or 117, or section 1591.

   This is all the more reason to make these documents and Hecker’s deposition public.

Undersigned counsel are not Louisiana or Federal prosecutors, but are obligated as officers of the

court to take steps to expose these crimes.

       V.      The Boston Globe and Massachusetts Cases on the Exact Issue.

       As mentioned above, this exact battle for these exact types of documents was fought nearly

two decades ago when the Boston Globe decided to intervene in cases involving disgraced pedophile


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priest John Geoghan and now disgraced Cardinal Bernard Law, who once was revered like Hannan,

Schulte, Hughes, and Aymond. Law was revered until it was unequivocally revealed that he and others

like his subordinate bishop Alfred Hughes had known for decades of Geoghan’s sexual assault of

children but failed to act on their knowledge.

       In the first ruling relative to the public’s interest in the internal Archdiocese documents in

Leary v. Geoghan, 2001 WL 1902393 (Superior Court of Massachusetts 11-26-01), Judge

Constance Sweeney, who happens to be Catholic, analyzed the issue under the following

procedural circumstances:

       Globe Newspaper Company (hereafter “Globe”) moves to intervene in these
       actions for the limited purpose of obtaining a right to access discovery materials,
       and consistent therewith to have the court require that the parties file discovery
       responses in the public court file. The plaintiffs support the Globe’s requests while
       the supervisory defendants oppose them.
       (Emphasis added)

       Before giving the reasoning for her “MEMORANDUM OF DECISION AND

OMNIBUS DISCOVERY ORDER,” Judge Sweeney set forth her succinct ruling as follows:

       For the reasons set forth herein, the Globe's motion to intervene to obtain access
       to discovery materials is allowed. Id.

       Also, before writing her legal analysis, Judge Sweeney referenced an existing

“Confidentiality Order,” much like the Protective Order the Archdiocese of New Orleans has

proposed in this case and many others.

       The Globe has now brought to the court’s attention that the Confidentiality Order
       may well have had the unintended effect of impeding the access of the public and
       the press to certain aspects of these cases. The plaintiffs agree with the Globe’s
       position. The supervisory defendants claim that the Globe does not have standing
       to intervene in this matter and further assert that the Confidentiality Order does not
       run afoul of constitutional or statutory provisions concerning public access to
       judicial proceedings and files.




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       As an initial matter, this is the same position The Archdiocese has advocated for in the

cases pending in this court and state court - - to keep the public and media from having access to

documents that show underlying crimes.

       After a thorough analysis of the media’s right to intervene, Judge Sweeney then turned to

the issue of confidentiality orders (protective orders), and wrote, “As discussed earlier, the net

effect of the Confidentiality Order is to shift the presumption that discovery documents are public

to a presumption that they are not whenever a party chooses to stamp ‘confidential’ on a discovery

response and the other parties do not challenge that designation.” Id. at p. 6.

       This same unilateral designation process employed by The Archdiocese of New Orleans in

this case should be rejected by this Court.

       And while the Commonwealth of Massachusetts has procedural rules more specifically

directed at the issue of the public’s right to discovery than do the Federal Rules of Civil Procedure,

the outcome should be no different here because the Leary court relied on jurisprudence from the

Unites States Supreme Court (also discussed above). “The United States Supreme Court has

recognized a general, but not necessarily unlimited, right of the public to access pretrial discovery.

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 37 (1984). See also, Cable News Network, Inc. v.

United States Dist. Court, 472 U.S. 1017 (1985) and Rushford v. New Yorker Magazine, Inc., 846

F.2d 249 (4th Cir.1988).”

       Likewise, another Geoghan case, Demeo v. Geoghan, 2001 WL 1902397 (Superior Court

of Massachusetts 11-26-01) involved an attempt to “impound” or seal the pleadings adding

Cardinal Bernard Law to the case.

       Plaintiffs have moved to amend their complaints to add His Eminence Bernard
       Cardinal Law as an individual defendant in each of the captioned actions. Neither
       the present defendants nor Cardinal Law oppose that amendment. Both, however,
       seek to impound the pleadings revealing Cardinal Law’s status as a defendant on


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       grounds that Cardinal Law has denied the allegations of the amended complaints,
       those complaints contain unproven allegations and the likelihood of publicity
       attendant on revelation of his status as an individual defendant would make a fair
       trial difficult. Plaintiffs oppose the motion on grounds that defendants have not
       overcome the general principle of publicity that typically attends matters pending
       in the courts.

       In denying the defendants’ (including Cardinal Law) motion, the Demeo court concluded,

“For fairness and balance, we ultimately depend, and must depend, not on closed doors, but on a

collective willingness to hear both sides before reaching firm conclusions.” Id at p. 2.

       Plaintiff in the case sub judice JW Doe asks for nothing more or less than what the plaintiffs

received in the Boston cases, transparency of the proceedings, particularly the Hecker deposition

and documents that establish multiple crimes and their cover up.

       VI.     Conclusion

       For all of the foregoing reasons, Plaintiff’s Motion to Motion to Unseal the Deposition of

Lawrence Hecker should be GRANTED.



                                                      Respectfully submitted,

                                                      /s/ Richard C. Trahant
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                                                     -AND-

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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been served on all counsel of record by operation of

the Court’s electronic filing system on December 23, 2020.



                                                     /s/ Richard C. Trahant
                                                     RICHARD C. TRAHANT




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